        Case 4:20-cv-03919-CW            Document 682         Filed 02/04/25      Page 1 of 4




John Austin Nix                                                                 FILED
NCAA ECID No. 1705808614
1061 E. Bunting Street                                                                Q4 2025
Fayettteville, AR 72701
                                                                           CLERK, U.S. DISTRICT eOURT >
TnnnflrvTI
January    709'=:
        jt,/uzo                                                          NORTH OAKUND
                                                                               DISTRICT OF CALIFORNIA
                                                                                        office

Ronald V. Dellums Fedeal Building & United States Courthouse
e/o Class Action Clerk
1301 Clay Street
Oakland, CA 94612


        Re: In re: College Athlete NIL Litigation, Case No. 4:20-cv-03919 C\a/
Dear Judge Wilken:

        Please accept this correspondence as my formal written objection on behalf of myself and
all similarly situated class members in relation to the above-referenced class action litigation. 1 file
this objection because the class, as defined, does not treat class members equitably relative to each
other and does not allow for a fair, reasonable and adequate settlement as required by federal law.

        Specifically, the proposed settlement distribution as structured discriminates against
athletes whose high academic achievements afforded them the opportunity to attend college by
way of academic scholarships, thereby not requiring athletic scholarship opportunities.
        As a graduate of Arkansas High School in Texarkana, Arkansas in 2018, I worked
diligently both on and off the playing field and earned an academic scholarship to attend the
University of Arkansas where I was a walk-on football player from 2018-2022. Beginning midway
through my sophomore year, I played every football game with the exception of two because of
an injury, totaling 22 played games over three years - a number that surpasses many of my
teammates who were on athletic scholarship.

        As structured, the settlement distribution does not treat academically excelling collegiate
athletes who saw equal or more playing time as other athletic scholarship receiving athletes fairly.
Specifically, the Broadcast NIL payment category states that 1 am not eligible for receipt of
payment because "the allocation is based on information we received from your school about
whether you were a full athletic GIA scholarship recipient." Seemingly, this payment category
automatically excludes all athletes who did not receive athletic scholarships. By structuring the
payout in this manner, the proposed settlement arbitrarily assumes that athletes not on athletic
scholarship would not be entitled to broadcast payments. In my case - and the case of others like
me who are entitled to as much or, in some instances, more compensation than other athletes
receiving far greater estimated payouts - this is inherently unfair.

        By way of this objection, I would request the opportunity to speak at the Final Approval
Hearing.
Case 4:20-cv-03919-CW   Document 682   Filed 02/04/25   Page 2 of 4



                                  Sincerely,




                                  Austin Nix
                                                          CERTIFIED MAIL
                                                                                      MSASJkR 727
Mitchell                   Williams                                                                               US POSTAGE Ml PITNEY BOWES


4206 South J.B. Hunt Dr.|Suite 200|Rogers, AR 7273                                            CO
                                                                                              cc
                                                                                                                                           0-cv-03919-CW



                                                                                                                  ZIP 72758
                                                                                                   VfaJ--:      no 7H         $ 009.64°
                                                     7DS0 0L4D       DOOl 3QLT TSS4                          Wi "2™
                                                                                                                0001308727      JAN 31 2025
                                                                                                                                           Document 682




                                                             Ronald V. Dellums Federal Building & United States
                         fES 04 202.5                        Courthouse
                                                             c/o Class Action Clerk
                           iJ.S.      CT OOlIfJT
                      district
                north 041^'      ofcAlfS                     1301 Clay Street
                            ClMr^ OCFirp
                                                             Oakland, CA 94612
                                                                                                                                           Filed 02/04/25




                                                     54£:i 2~iX!2:OOL.! X
                                                                                                                                           Pa
Pa
Filed 02/04/25




                                                                      ■■
                                                                 It        I
Document 682
0-cv-03919-CW
                 PLACE STICKER AT TOP OF ENVELOPE TO THE RIGHT
                  OF THE RETURN ADDRESS, FOLD AT DOTTED LINE
